Case 2:21-cv-04405-RGK-MAR Document 112-20 Filed 07/19/22 Page 1 of 1 Page ID
                                 #:2589


               IN THE UNITED STATES DISTRICT COURT
             FOR THE CENTRAL DISTRICT OF CALIFORNIA
                        WESTERN DIVISION
                      Case No. 2:21-cv-04405-RGK-MAR



            Exhibit L (pages 1064-1198) to Declaration of Robert Frommer in
 Support of Plaintiffs’ Opening Trial Brief is not attached here as it is proposed
 to be filed under seal and is attached to Plaintiffs’ Application to file documents
 under seal which will be filed forthwith.
